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  6                      UNITED STATES DISTRICT COURT
  7                   THE CENTRAL DISTRICT OF CALIFORNIA

  8
  9    EDDIE CAMPOS, BROOKE         )    CASE NO.: 14-CV-1370
       CAMPOS, BLAKE CAMPOS,        )
 10    MIKE STEINHAUS, and          )     COMPLAINT
 11    MORGAN BURNINGHAM,           )
                                    )    (1)   VIOLATION OF 42 U.S.C. § 1983
 12              Plaintiffs,        )    (2)   FAILURE TO SUPERVISE AND
 13
       v.                           )          DISCIPLINE
                                    )    (3)   ASSAULT
 14    COUNTY OF RIVERSIDE,         )    (4)   BATTERY
       STANLEY SNIFF, DANIEL        )    (5)   FALSE IMPRISONMENT
 15    ARENAS, JR., JUVIEN          )    (6)   INTENTIONAL INFLICTION OF
 16    GALZOTE, BRIAN               )          EMOTIONAL DISTRESS
       LAUREANO, LISA MILLER,       )    (7)   NEGLIGENCE PER SE
 17    THOMAS MILLER, NILO JOSE, )       (8)   NEGLIGENCE
 18
       VINCENT MUSARACA, DAVE )          (9)   VIOLATION OF CALIFORNIA
       JOHNSON, and GARY            )          CIVIL CODE § 52.1
 19    GUEVERRA,                    )
                                    )
 20              Defendants.        )
 21                                 )
                                    )
 22                                 )
 23                                 )    DEMAND FOR A JURY TRIAL
                                    )
 24                                 )
                                    )
 25
                                    )
 26                                 )
                                    )
 27    ____________________________
 28


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  1          Plaintiffs, by their respective attorneys of record allege and complain as
  2   follows:
  3                              GENERAL ALLEGATIONS
  4          1.     Jurisdiction is proper in the United States District Court for the
  5   Central District of California pursuant to 28 U.S.C. §1331 and 28 U.S.C. §1343(3)
  6   and (4), et. seq.
  7          2.     Pursuant to 42 U.S.C. § 1367(a), this Court has supplemental
  8   jurisdiction over the state claims brought in this action, which arise from a
  9   common nucleus of operative facts and from the same transactions and
 10   occurrences raised in Plaintiffs’ federal causes of action
 11          3.     Venue is proper in the Central District of California because the acts
 12   or omissions which form the basis of the Plaintiffs’ claims occurred in Blythe,
 13   California, within the Central District.
 14          4.     Plaintiffs have complied with California Government Code §§ 800 et
 15   seq.
 16                                           PARTIES
 17          5.     Plaintiffs were individuals residing in Riverside County, California.
 18          6.     Upon information and belief, Defendants Nilo Jose and Juvien
 19   Galzote are residents of the State of California and are deputies employed by the
 20   Riverside County Sheriff’s Department.
 21          7.     Defendant Daniel Arenas Jr. was an individual residing in Riverside
 22   County, California.
 23          8.     Defendant Brian Laureano was an individual residing in Riverside
 24   County, California.
 25          9.     Defendant Lisa Miller was an individual residing in Riverside
 26   County, California.
 27          10.    Defendant Thomas Miller was an individual residing in Riverside
 28   County, California.

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  1         11.    Defendant Vincent Musaraca was an individual residing in Riverside
  2   County, California.
  3         12.    Defendant Dave Johnson was an individual residing in Riverside
  4   County, California.
  5         13.    Defendant Gary Gueverra was an individual residing in Riverside
  6   County, California.
  7         14.    Plaintiff are informed and believe that at all relevant times, each
  8   Defendant was the agent or employee of each of the other Defendants, and in
  9   perpetrating the wrongful conduct detailed in this Complaint, acted within the
 10   scope of such agency or employment, or ratified the acts of the other.
 11         15.    Plaintiffs are informed and believe that each of the Defendants
 12   caused, and is responsible for the below-described unlawful conduct and resulting
 13   injuries in that each of the Defendants participated in the unlawful conduct or
 14   acted jointly with others who did so; authorized, acquiesced in or set in motion
 15   actions that led to the unlawful conduct; failed to take action to prevent the
 16   unlawful conduct; and/or failed to prevent further harm to Plaintiffs.
 17         16.    Plaintiffs are truly ignorant of the true names and capacities of
 18   Defendants DOES 1 through 60, inclusive, and/or are truly ignorant of the facts
 19   giving rise to their liability and will amend this complaint once their identities
 20   have been ascertained as well as the facts giving rise to their liability.
 21                                          FACTS
 22         17.    Plaintiffs reallege all prior paragraphs of this complaint and
 23   incorporate the same herein by this reference.
 24         18.     On July 6, 2013, Eddie Campos, his daughter Brooke, his son Blake,
 25   Blake’s girlfriend Morgan and their family friend Michael were staying at their
 26   vacation home at the Lost Lake Resort.
 27         19.    Eddie, Brooke, Blake and Michael were at the boat ramp pulling
 28   Eddie’s boat out of the water. The locking mechanism was broken on the hand

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  1   winch and the boat kept falling back into the water.
  2         20.    Defendant Daniel Arenas started yelling profanities at them. Arenas
  3   called them dumb Mexicans and yelled that they were stupid and they should learn
  4   how to load their boat.
  5         21.    Arenas came out of the water and proceeded toward Eddie Campos’
  6   children, Brooke and Blake.
  7         22.    Plaintiff Michael Steinhaus approached Arenas, held his hands up and
  8   told him to stop.
  9         23.    Michael told Arenas that they were about to leave and asked him to
 10   go back to his boat.
 11         24.    Arenas swung at Michael, attempting to hit Michael. Arenas pushed
 12   his way towards Michael and Michael pushed him back.
 13         25.    Michael was trying to calm Arenas down and prevent him from
 14   getting to Brooke and Blake.
 15         26.    Brooke and Blake remained silent during the exchange.
 16         27.    Arenas kept trying to push and hit Michael. Arenas threatened
 17   Michael, Broke and Blake. Arenas was advancing toward the children.
 18         28.    Eddie Campos placed himself between Arenas and his children and
 19   punched Arenas.
 20         29.    A security guard at the resort went to the boat launch ramp to
 21   investigate the incident between Arenas and Eddie Campos.
 22         30.    The guard heard Arenas yelling at Eddie that Arenas would “get”
 23   him. The guard told Defendants Arenas and Musaraca that he was going to
 24   contact the Sheriff’s Department.
 25         31.    Defendant Musaraca laughed and said, “We are the Sheriffs.”
 26         32.    Everyone left the area.
 27         33.    Plaintiffs went back to their residence and backed the boat into the
 28   driveway.

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  1         34.      At approximately 8 p.m., Eddie, Brooke and Blake were wiping down
  2   the boat in the driveway.
  3         35.      Morgan and Michael were in the home, putting things away.
  4         36.      While the Plaintiffs were back at their home, Defendant Arenas was
  5   gathering the other Defendants who agreed to join him in confronting Plaintiffs.
  6         37.      Defendants were “pissed off.”    They all agreed to drive to Campos’
  7   residence to “take care of some business.”
  8         38.      Several golf carts arrived with approximately 12 to 15 people. They
  9   surrounded the property and blocked the entrance to Eddie’s property.
 10         39.      Defendant Daniel Arenas was in the first golf cart that arrived.
 11   Arenas said to the others, “There’s the guy. Let’s get him.”
 12         40.      Arenas jumped out of the golf cart and the other defendants rushed
 13   the Plaintiffs. Defendants cornered Plaintiffs and Plaintiffs had nowhere to go.
 14         41.      Eddie recognized Arenas from the earlier confrontation. Eddie told
 15   Arenas not to involve his children. Arenas said again, “That’s the guy, get him.”
 16         42.      Arenas and several other Defendants cornered Eddie. Arenas
 17   punched Eddie on the side of the head. Several Defendants believed to be
 18   Arenas, Laureano, Galzote and Nilo assaulted Eddie.
 19         43.      Defendant Galzote told the investigators that Defendant Laureano
 20   was irate when Laureano approached Eddie Campos because Arenas is Laureano’s
 21   best friend.
 22         44.      Eddie was trying to defend himself and get away. Eddie retreated
 23   inside his home and Arenas, Galzote and Nilo followed him inside.
 24         45.      Defendants chased Eddie through his house. Eddie was able to get
 25   away and get out of his front door.
 26         46.      Brooke Campos was confronted by Lisa Miller and another
 27   defendant. They blocked her way and would not let her leave. These defendants
 28   yelled and swore at Brooke. Brooke finally broke away and ran to the neighbor’s

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  1   house for help.
  2           47.   Blake Campos tried to run away but Defendants were swinging at
  3   him. Defendant Galzote grabbed Blake by the throat. Blake managed to free
  4   himself and ran to his neighbor Michael Batterson’s house to get help.
  5           48.   Blake Campos ran back to his home. Defendant Juvien Galzote
  6   grabbed Blake by the throat and threw him to the ground. Blake got into a fetal
  7   position because he was being kicked and beaten with hammer fists by Galzote.
  8           49.   Defendant Tommy Miller was on the ground, hitting Blake.
  9   Defendants Laureano, Nilo and Musaraca assaulted Blake.
 10           50.   Michael ran out of the home and yelled at Defendants to get off
 11   Blake. Defendants then started hitting Michael. Defendant Laureano and Nilo
 12   Jose assaulted Michael.
 13           51.   Michael and Eddie pulled Defendants off of Blake. Blake was able to
 14   get off the ground.
 15           52.   Michael, Eddie and Blake retreated to the neighbor’s porch to get
 16   away.
 17           53.   Defendant Galzote attacked Eddie Campos. Galzote kicked Eddie.
 18           54.   During this time period, multiple defendants identified themselves as
 19   law enforcement while assaulting plaintiffs.
 20           55.   Morgan Burningham, who was seventeen-years-old at the time of the
 21   incident, saw six to seven males attacking Eddie and Blake. She attempted to run
 22   to a family member’s home to get help. Lisa Miller grabbed her by the hair and
 23   repeatedly punched her on the back of the head and eye. Defendant Lisa Miller
 24   had Morgan by the hair, screaming at Morgan that Morgan was a bitch. Lisa
 25   Miller threw Morgan into a kayak with broken bottles.
 26           56.   A neighbor picked up Morgan and helped her on the deck. Morgan
 27   had a laceration on her leg that required several stitches and injuries to her eye and
 28   head.

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  1         57.       Defendants Dave Johnson and Garry Gueverra agreed to go to the
  2   Campos residence with the other defendants. They stood watch around the
  3   property to allow the other defendants to assault plaintiffs.
  4         58.       When the neighbor Michael Batterson went to assist, Defendants
  5   Galzote and Jose identified themselves as sheriffs.
  6         59.       Michael Batterson helped stop the assault. Defendant Musaraca told
  7   Michael Batterson who arrived to help that Galzote was a deputy sheriff.
  8         60.       Defendants fled the area.
  9         61.       When investigators arrived at the home in which Defendants were
 10   staying, they observed approximately 30 people standing in the area.
 11         62.       Defendant Juvien Galzote approached the investigators and said,
 12   “Everything is code 4 bro, I’m 10-35.”1
 13         63.        Six of the defendants have been criminally charged.
 14                              FIRST CAUSE OF ACTION
          Civil Rights Action (42 U.S.C. § 1983) by All Plaintiffs Against Defendants
 15      Arenas, Galzote, Laureano, Lisa Miller, Thomas Miller, Jose, Musaraca,
                            Johnson, Gueverra and Does 1-60
 16
            64.       Plaintiffs reallege all prior paragraphs of this complaint and
 17
      incorporate the same herein by this reference.
 18
            65.       42 U.S.C. § 1983 provides in part:
 19
                      Every person who, under color of any statute, ordinance,
 20                   regulation, custom, or usage of any State or Territory
                      subjects, or causes to be subjected, any person of the
 21                   United States or other person within the jurisdiction
                      thereof to the deprivation of any rights, privileges, or
 22                   immunities secured by the Constitution and laws shall be
                      liable to the party injured in an action at law, suit at
 23                   equity or other proper proceeding for redress.
 24         66.       Defendants acted under color of law, and conspired to deprive, and
 25   acting jointly and in concert with one another did deprive Plaintiffs of their
 26   Constitutional rights, which include, but are not limited to, the following:
 27
 28
            1
                Code 4 in law enforcement jargon means “no further assistance necessary.”

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  1          (a) right to be free from unreasonable detentions, searches, and seizures;
  2          (b) right to be free from unlawful arrests and false imprisonment;
  3          (c) right to equal protection of the laws;
  4          (d) right not to be deprived of liberty without due process of law;
  5          (e) right to be free from excessive, unreasonable and unjustified force
  6          against his or her person.
  7          67.    Each of the named Defendants, including Does, separately and in
  8   concert, engaged in the illegal conduct to the injury of the Plaintiffs, and deprived
  9   Plaintiffs of the rights, privileges and immunities secured to them by the Fourth
 10   Amendment to the Constitution of the United States and the laws of the United
 11   States. Defendants acted with callous disregard for the constitutionally protected
 12   rights of Plaintiffs.
 13          68.    Defendants participated in the unlawful conduct or acted jointly with
 14   others who did so; authorized, acquiesced in or set in motion actions that led to the
 15   unlawful conduct; failed to take action to prevent the unlawful conduct; and/or
 16   failed to prevent further harm to Plaintiffs.
 17          69.    Each of the named Defendants, including Does, conspired with each
 18   other to go to the Campos residence to assault Plaintiffs.
 19          70.    While these defendants were assaulting Plaintiffs, they announced
 20   themselves as Sheriff deputies.
 21          71.    Plaintiffs were subjected to humiliation, fear, and pain and suffering
 22   by the illegal acts of Defendants and suffered injuries as a result.
 23          72.    As a result of Defendants’ unlawful conduct as alleged herein,
 24   Plaintiffs have suffered, and will continue to suffer, the above stated damages in
 25   an amount according to proof, including attorney fees and costs, to remedy the
 26   unlawful conduct.
 27          73.    Plaintiffs are entitled to compensatory damages, punitive damages,
 28   attorney’s fees under 42 U.S.C. § 1988, and all applicable law, and such additional

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  1   relief as the Court deems just.
  2                           SECOND CAUSE OF ACTION
                    Civil Rights Action (42 U.S.C. § 1983) For Failure to
  3         Supervise and Discipline by All Plaintiffs Against County of Riverside,
                              Stanley Sniff and DOES 1-60
  4
  5         74.    Plaintiffs reallege all prior paragraphs of this complaint and
  6   incorporates the same herein by this reference.
  7         75.     Defendants County of Riverside, Stanley Sniff and DOES 1-60 as a
  8   matter of custom, practice and policy, failed to supervise their officers to prevent,
  9   deter and punish the unconstitutional and excessive use of force.
 10         76.    No supervising officer from the Sheriff’s Department took
 11   appropriate steps to supervise the individual officers who were using unnecessary
 12   and excessive force during detentions.
 13         77.    Upon information and belief, County of Riverside, Stanley Sniff and
 14   DOES 1-60 knew of prior incidents of misconduct by Galzote and Jose.
 15         78.    Upon information and belief, County of Riverside, Stanley Sniff and
 16   DOES 1-60 knew or should have known of the Constitutional violations
 17   committed by their deputies but failed to correct their abuse of authority, or
 18   discourage their unlawful use of authority.
 19         79.    County of Riverside, Stanley Sniff and DOES 1-60 condoned and
 20   acquiesced in the abusive behavior of their deputies by refusing to retrain them,
 21   discipline them, or correct their abusive behavior.
 22         80.    Upon information and beliefs, Defendants County of Riverside,
 23   Stanley Sniff and DOES 1-60 knew that their subordinates were violating the
 24   rights of citizens but failed to intercede or supervise them.
 25         81.    Despite their knowledge of the unlawful conduct of their
 26   subordinates, Defendants did nothing to supervise or intervene.
 27         82.    Defendants County of Riverside, Stanley Sniff and DOES 1-60 knew,
 28   or should have been, aware that the policy regarding supervision and discipline of

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   1   officers who violated the civil rights of the citizens and commit assault and battery
   2   was so inadequate that it was obvious that a failure to correct it would result in
   3   further incidents of dangerous and lawless conduct perpetrated by their officers.
   4         83.    The constitutionally deficient investigation and lack of discipline was
   5   done with deliberate indifference to the rights of Plaintiffs and others in their
   6   position.
   7         84.    The lack of adequate supervision and discipline caused Plaintiffs’
   8   damages.
   9         85.    As a result of actions by Defendants, Plaintiffs suffered physical and
  10   psychological injuries.
  11                             THIRD CAUSE OF ACTION
            Assault by All Plaintiffs against Defendants Arenas, Galzote, Laureano,
  12           Lisa Miller, Thomas Miller, Jose, Musaraca and DOES 1-60
  13         86.    Plaintiffs reallege all prior paragraphs of this complaint and
  14   incorporate the same herein by this reference.
  15         87.    Each of the Defendants acted, intending to cause harmful or offensive
  16   contact.
  17         88.    Plaintiffs reasonably believed that they were about to be touched in a
  18   harmful or an offensive manner.
  19         89.    It reasonably appeared to Plaintiffs that Defendants were about to
  20   carry out the threat and they did not consent to Defendants’ conduct.
  21         90.    As a result, Plaintiffs were harmed and Defendants’ conduct was a
  22   substantial factor in causing Plaintiffs’ harm.
  23                          FOURTH CAUSE OF ACTION
            Battery by Plaintiffs Eddie Campos, Blake Campos, Mike Steinhaus,
  24     Morgan Burningham against Defendants Arenas, Galzote, Laureano, Lisa
                 Miller, Thomas Miller, Jose, Musaraca and DOES 1-60
  25
             91.    Plaintiffs reallege all prior paragraphs of this complaint and
  26
       incorporate the same herein by this reference.
  27
             92.     Defendants Arenas, Galzote, Laureano, Lisa Miller, Thomas Miller,
  28


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   1   Jose, Musaraca and Does 1-60 acted with an intent to cause harmful or offensive
   2   contact to Plaintiffs Eddie Campos, Blake Campos, Mike Steinhaus, Morgan
   3   Burningham and the intended harmful or offensive contact did in fact occur.
   4          93.    The harmful or offensive contact was not privileged nor consented to.
   5          94.    The harmful or offensive contact employed by Defendants and Does
   6   1-60 was not reasonable.
   7          95.    As a result of the intent of Defendants to cause harmful or offensive
   8   contact with Plaintiffs and the fact that the intended harmful or offensive contact
   9   did in fact occur, Plaintiffs have suffered damages according to proof at the time
  10   of trial.
  11          96.    The conduct of Defendants also amounts to oppression, fraud or
  12   malice and punitive damages should be assessed against them for the purpose of
  13   punishment and for the sake of example.
  14                            FIFTH CAUSE OF ACTION
          False Imprisonment by All Plaintiffs Against Defendants Arenas, Galzote,
  15    Laureano, Lisa Miller, Thomas Miller, Jose, Musaraca , Johnson, Gueverra,
                                    and DOES 1-60
  16
              97.    Plaintiffs reallege all prior paragraphs of this complaint and
  17
       incorporate the same herein by this reference.
  18
              98.    Defendants Arenas, Galzote, Laureano, Lisa Miller, Thomas Miller,
  19
       Jose, Musaraca , Johnson, Gueverra, and Does 1-60 unlawfully violated the
  20
       personal liberty of Plaintiffs.
  21
              99.    Defendants intentionally deprived Plaintiffs’ freedom of movement
  22
       by force, threats of force, menace, duress and creating a physical barrier.
  23
              100. Plaintiffs were not allowed to leave for an appreciable time.
  24
              101.   Plaintiffs did not consent to be imprisoned.
  25
              102. Defendants acted jointly and pursuant to a joint plan in violating
  26
       Plaintiffs’ clearly established rights under United States and California law by
  27
       threats, intimidation and coercion.
  28


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   1         103. Plaintiffs were actually harmed by the conduct of the Defendants and
   2   Defendants’ conduct was a substantial factor in causing harm to Plaintiffs. .
   3         104. Plaintiffs were subjected to humiliation, fear, and pain and suffering
   4   by the illegal acts of Defendants and suffered injuries as a result of the
   5   Defendants’ actions
   6
                                  SIXTH CAUSE OF ACTION
   7         Intentional Infliction of Emotional Distress by All Plaintiffs Against
         Defendants Arenas, Galzote, Laureano, Lisa Miller, Thomas Miller, Jose,
   8                  Musaraca , Johnson, Gueverra and Does 1-60
   9         105. Plaintiffs reallege all prior paragraphs of this complaint and
  10   incorporate the same herein by this reference.
  11         106.    By engaging in the acts alleged herein, Defendants engaged in
  12   outrageous conduct with an intent to or a reckless disregard of the probability of
  13   causing Plaintiffs to suffer emotional distress.
  14         107. As a direct, proximate and foreseeable result, Plaintiffs suffered
  15   severe emotional distress and the outrageous conduct was the cause of the
  16   emotional distress suffered by Plaintiffs.
  17         108.    The conduct of Defendants also amounts to oppression, fraud or
  18   malice and punitive damages should be assessed against Defendants for the
  19   purpose of punishment and for the sake of example.
  20
                              SEVENTH CAUSE OF ACTION
  21       Negligence Per Se by All Plaintiffs Against Defendants Arenas, Galzote,
        Laureano, Lisa Miller, Thomas Miller, Jose, Musaraca , Johnson, Gueverra
  22                                  and Does 1-60
  23
             109. Plaintiffs reallege all prior paragraphs of this complaint and
  24
       incorporate the same herein by this reference.
  25
             110. Section 43 of the California Civil Code provides in pertinent part that
  26
       every person has the right of protection from bodily restraint or harm, from
  27
       personal insult, and from defamation.
  28


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   1           111. Defendants had a legal duty to ensure that Plaintiffs were not subject
   2   to bodily restraint or harm without lawful justification. By their acts and
   3   omissions, Defendants breached legal duties owed to Plaintiffs as set forth in
   4   California Civil Code section 43. Further, it was reasonably foreseeable that such
   5   breaches of duty by Defendants would cause Plaintiffs physical and/or emotional
   6   harm.
   7           112. As a direct and proximate cause of Defendants’ negligence, Plaintiffs
   8   have suffered, and will continue to suffer, the above stated damages in an amount
   9   according to proof, including attorney fees and costs, to remedy the unlawful
  10   conduct.
  11                                 EIGHTH CAUSE OF ACTION
                            Negligence by All Plaintiffs against All Defendants
  12
               113. Plaintiffs reallege all prior paragraphs of this complaint and
  13
       incorporates the same herein by this reference.
  14
               114. Defendants had a duty to Plaintiffs to act with ordinary care and
  15
       prudence so as not to cause harm or injury to another.
  16
               115. By engaging in the acts alleged herein, Defendants failed to act with
  17
       ordinary care and breached their duty of care owed to Plaintiff.
  18
               116. Defendants’ actions fell below the standard of ordinary care.
  19
               117. Defendant Sniff is liable for his own negligent conduct in failing to
  20
       properly supervise and discipline Defendants Galzote and Jose.
  21
               118. Defendants Sniff and the County of Riverside are also liable under
  22
       the theory of respondeat superior.
  23
               119. As a direct, proximate and foreseeable result of Defendants’ breach of
  24
       their duty of care, Plaintiffs suffered damages in an amount according to proof at
  25
       the time of trial.
  26
  27
  28


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   1                            NINTH CAUSE OF ACTION
          California Civil Rights Violation (Civ. Code Section 52.1) by All Plaintiffs
   2    Against Defendants Arenas, Galzote, Laureano, Lisa Miller, Thomas Miller,
                    Jose, Musaraca , Johnson, Gueverra and Does 1-60
   3
   4         120. Plaintiffs reallege all prior paragraphs of this complaint and
   5   incorporate the same herein by this reference.
   6         121. The California Legislature has declared that it violates our state civil
   7   rights act for any person to interfere with the exercise or enjoyment by any
   8   individual of his rights secured by the United States Constitution or state or
   9   federal law. This includes any interference of these rights by threats, intimidation,
  10   coercion or attempted threats, intimidation or coercion.
  11         122. Defendants interfered with Plaintiffs’ rights by the use of force
  12   alleged above.
  13         123. This interference with Plaintiffs’ rights was perpetrated in violation of
  14   California Civil Code Section 52.1 and their right to be free from excessive force
  15   under the California Constitution.
  16         124. Due to the violation of Plaintiffs’ rights by Defendants, Plaintiffs
  17   suffered economic damages and non-economic damages, including, but not limited
  18   to, emotional distress, pain and suffering, and fear caused by the acts complained
  19   of herein according to proof at the time of trial.
  20         125. Plaintiffs are also entitled to the statutory civil penalties set forth in
  21   Civil Code Section 52, attorneys’ fees and costs of suit incurred herein.
  22         126. The conduct of Defendants also amounts to oppression, fraud or
  23   malice within the meaning of Civil Code Section 3294 et seq. and punitive
  24   damages should be assessed against each non-municipal defendant for the purpose
  25   of punishment and for the sake of example.
  26
  27
  28


                                                  14
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   1                                 PRAYER FOR RELIEF
   2        WHEREFORE, Plaintiffs pray for a judgment as follows:
   3        1.     Entering judgment for statutory, compensatory, general, and special
   4               damages in an amount in accordance with proof;
   5        2.     Entering judgment for exemplary damages against each of the
   6               individual defendants in an amount sufficient to punish and to make
   7               an example of said defendants, and to deter said defendants and
   8               others from engaging in similar conduct.;
   9        3.     Awarding reasonable attorney's fees, expenses, and costs of suit; and
  10        4.     Granting such other and further relief as the Court deems proper.
  11
  12                             DEMAND FOR JURY TRIAL
  13        Plaintiffs demand a jury trial.
  14
       Dated:    July 3, 2014                 Respectfully submitted,
  15
  16                                          /s/ Eugene Iredale
                                              JULIA YOO
  17                                          EUGENE G. IREDALE
                                              Attorneys for Plaintiffs
  18
  19
                                              /s/ Julia Yoo
  20                                          JULIA YOO
                                              EUGENE G. IREDALE
  21                                          Attorneys for Plaintiffs
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